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MINUTE ENTRY
AFRICK, J.
June 27, 2022
JS-10 01:30



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

  UNITED STATES OF AMERICA                              CRIMINAL ACTION


  VERSUS                                                NO: 20-55


  JASON WILLIAMS and NICOLE                             SECTION: "I"
  BURDETT



  UNITED STATES OF AMERICA                              CRIMINAL ACTION


  VERSUS                                                NO: 20-139


  NICOLE BURDETT                                        SECTION: "I"




                                     ORDER

      On June 27, 2022, the Court held an in-person conference for Criminal Action

Numbers 20-55 and 20-139 with the following counsel in attendance: Kelly Uebinger,

Alexander Van Hook, and Jessica Cassidy for the United States; Ian Atkinson and

Lisa Wayne for Jason Williams; and Michael Magner and Avery Pardee for Nicole

Burdett. The Court and counsel discussed observations concerning the completed

juror questionnaires, reviewed juror questionnaires, scheduled a hearing to address


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challenges for cause, and discussed logistics for voir dire and the seating of jurors for

jury selection. The Court also heard from counsel concerning defense counsel’s Touhy

requests and the government’s motion 1 in limine to exclude argument, testimony, and

evidence concerning dismissed Count 10 of the indictment in Criminal Action

Number 20cr55. Defense counsel agreed that counsel would not reference dismissal

of Count 10 per se; however, defense counsel stated that an opposition will be filed by

the July 5, 2022 response deadline in which defendants will argue that evidence or

testimony concerning dismissed Count 10 is admissible to challenge the quality of the

government’s investigation into the Form 8300 charges.

          Accordingly;

          IT IS ORDERED that a hearing to address juror challenges for cause shall

take place on Thursday, July 7, 2022, at 2:00 p.m. Counsel and defendants shall

appear for the hearing.

          IT IS FURTHER ORDERED that the government’s motion in limine to

exclude argument, testimony, and evidence concerning dismissed Count 10 shall be

heard on the papers, without oral argument, on (or before) July 13, 2022.



                                            _______________________________________
                                                      LANCE M. AFRICK
                                            UNITED STATES DISTRICT JUDGE




1   R. Doc. 342 in 20cr55.

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